Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 1 of 7 PageID 1
Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 2 of 7 PageID 2
Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 3 of 7 PageID 3
Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 4 of 7 PageID 4
Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 5 of 7 PageID 5
Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 6 of 7 PageID 6
Case 3:13-cv-00562-TJC-MCR Document 1 Filed 05/16/13 Page 7 of 7 PageID 7
